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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DTVISION


[SUPPRESSED],                           )    Case No.
                                        )
                 Plaintiffs-Relators,   )    JURY TRLAL DEMANDED
                                        )
     v.                                 )    FILED IN CAMERA AiYD
                                        )    UNDER SEAL (Pursuant to
ISUPPRESSEDI,                           )    31 U.S.C. g 3730)
                                        )    DO NOT PLACE ON PACER
         Defendants.                    )    DO NOT PLACE IN PRESS BOX




                          COMPLAINT                              FILEtr)
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                                            1:17-cv-05638
                                            Judge Ruben Castillo
                                                                 t'
                                            lrr"!-l"tot" Judge Ilavid Welsman
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                                 IN TIM I'NITED STATES DISTRICT COI'RT
                                FOR TIIE NORTIMRN DISTRICT OF ILLINOIS
                                            EASTERN DIYISION


[SUPPRESSED],                                            Case No.

                                Plaintiffs-Relators,     JURY TRIAL DEMANDED

        v.                                               FILED IN CAMERA AIYD
                                                         T NDER SEAL (Pursuant to
ISUPPRESSED],                                            3l u.s.c. s 3730)
                                                         DO NOT PLACE ON PACER
                                Defendants.              DO NOT PLACE IN PRESS BOX


                                                   COMPLAINT




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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


THE LINITED STATES OF AMEzuCA,                       Case No.
and THE STATE OF ILLINOIS ex rel.
DR. THOMAS PROSE,                                    JURY TRIAL DEMANDED

                      Plaintiffs-Relators,           FILED IN CAMERA AND
                                                     UNDER SEAL (Pursuant to
       v.                                            31 U.S.C. $ 3730)
                                                     DO NOT PLACE ON PACER
MOLINA HEALTHCARE OF ILLINOIS,                       DO NOT PLACE IN PRESS BOX
INC. and MOLINA HEALTHCARE, INC.,

                      Defendants.



                                         COMPLAINT

               Plaintiff-Relator Dr. Thomas Prose ("Dr. Prose" or "Relator"), by and through his

undersigned counsel, hereby brings this action against Defendants Molina Healthcare of Illinois,

Inc. ("Molina"), and Molina Healthcare, Inc. ("Molina Health"), alleging as follows:

                                     NATURE OF ACTION

               1.     This qui tam lawsttit is for damages and civil penalties in an action under

the federal False Claims Act, 31 U.S.C. $$ 3729, et seq. (the "FCA"),      zrnd   the Illinois False

Claims Act,740ILCS 17511, etseq. (the "IFCA," and together with the FCA, the "FCAs"),

based on Molina knowingly submitting false claims         for payment to the Illinois Medicaid
program.

              2.      Molina is   a Managed Care   Organization ("MCO") that has contracted with

the Illinois Department of Healthcare and Family Services (the "Department") to provide health

care services to Illinois Medicaid beneficiaries. Molina promised the Department that it would

provide a SNFist program: coordinated care for Medicaid beneficiaries living in Skilled Nursing




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Facilities ("SNFs") using licensed medical professionals. The Department and the Centers for

Medicare   & Medicaid   Services ("CMS") have made clear that SNFist programs are mandatory

and critical to an effective Medicaid program. Despite       full knowledge of its obligation    to

provide a SNFist program, Molina has knowingly failed to have one for over two years, and

concealed that fact from the Department.

               3.      Dr. Prose has first-hand knowledge of Molina's scheme, but non-public,

sworn testimony confirms his allegations, including that:

               Molina executives knew Molina was obligated to provide             a   SNFist

               program;

               Molina executives knew Molina stopped providing any SNFist services in

               April 2015 and did nothing to remedy Molina's failure; and

               Molina failed to inform the Department that       it   was not providing the

               SNFist services it promised to provide.

               4.      This is not merely a matter of contractual non-compliance: Molina's very

top executives knew all the relevant facts, but concealed them from the Department for over two

years now,   all the while seeking payment from the Illinois Medicaid program, and indeed,

seeking to renew the very contract that Molina has intentionally refused to honor.

               5.     Molina's failure is unfair to competitors who do pay, as they must, to offer

SNFist services; unfair to the taxpayers who are funding Molina's scheme, and the increased

costs that result from the failure to provide SNFist services; and, most importantly, unfair to the

vulnerable Medicaid beneficiaries in SNFs, who are denied the important care SNFists provide.

The FCAs were designed to remedy precisely this type of scheme.




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                                             PARTIES

               6.        Dr. Thomas Prose is a Michigan resident and United States Citizen.

               7.        Molina Healthcare of Illinois, Inc. is a corporation organized under the

laws of the State of Illinois, with its principal place of business in Oak Brook, Illinois.

                8.       Molina Healthcare, Inc. is a corporation organized under the laws of the

State of Delaware, with its principal place of business in Long Beach, California.

                                  JURISDICTION AND VENUE

               9.        This Court has jurisdiction over the subject matter of this action pursuant

to 28U.S.C. $$ 1331 and 1345 because it           arises under the laws     of the UnitedStates-in
particular, the False Claims   Act-and    because   it is commenced on behalf of the United      States.

Further, 31U.S.C. 53732 specifically confers jurisdiction on this Court for actions brought

pursuant to 31 U.S.C. $ 3730.

                10.      This Court has supplemental jurisdiction over the subject matter of the

claims brought under state laws pursuant to 28 U.S.C. $ 1367 because the claims are so related to

the claims within this Court's original jurisdiction that they form part of the same case or

controversy under Article    III of the United States Constitution.    Further,   3l U.S.C.   $ 3732(b)

specifically confers jurisdiction on this Court for actions brought under state laws arising from

the same transaction or occurrence as an action brought under     3l U.S.C. $ 3730.
                1   l.   This Court has personal jurisdiction over Defendants pursuant               to

31U.S.C. $3732(a) because 3l U.S.C. $3732(a) authorizes nationwide service of process, and

Defendants have sufficient minimum contacts with the United States of America.

                12.      Venue is proper   in this District pursuant to 3l U.S.C. $3732(a),         and

28 U.S.C. $ 1391(b) and (c), because at least one of the Defendants transacts business in this




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District, and because some of the acts and omissions of which Relator complains occurred in this

District.

                                      THE FALSE CLAIMS ACTS

                13.       The FCA, as amended by the Fraud Enforcement and Recovery Act of

2009, and the IFCA, imposes liability on anyone         who: "(A) knowingly   presents, or causes to be

presented, a false or fraudulent claim for payment or approval; (B) knowingly makes, uses, or

causes   to be made or used, a false record or statement material to a false or fraudulent claim;

. . . or (G) knowingly makes, uses, or causes to be made or used, a false record or statement

material to an obligation to pay or transmit money or property to the Government, or knowingly

conceals or knowingly and improperly avoids or decreases an obligation to pay or transmit

money or property to the Government...". 31U.S.C. $ 3729(a)(1); see also 740ILCS 17513

(substantively identical).

                14.       Any person who violates the FCAs is liable for civil penalties for          each

violation, plus three times the amount of the damages sustained by the Government.

                15.       The FCAs allow any person having information about false or fraudulent

claims to bring an action on behalf of the Government, and to share in     illy   recovery.

                16. All allegations in this Complaint        are based on evidence obtained directly

by Dr. Prose independently, through his own labor and efforts. As required by the FCAs, Relator

has provided    to the United States Attorney General, the United States Attorney for the
Northern District     of Illinois,   and the Attorney General   of Illinois, a    statement   of   material

evidence and information that Dr. Prose possesses regarding this Complaint. Because that

statement includes attorney-client communications and work product of Relator's counsel, and

was submitted to the Attorneys General and the United States Attomey, in their capacity                  as


potential co-counsel in this litigation, that statement is confidential.


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               17   .   In accordance with 3l U.S.C. $ 3730(bX2), and 740 ILCS 17514(b)(2), the

Complaint has been fled in camera, will remain under seal for a period of at least 60 days, and

will not be served on Defendants until the Court so orders.

                                      BACKGROUND FACTS

       SNFIST SERVICES

               18. A "SNFist" is defined by statute in Illinois as a "medical professional
specializing in the care of individuals residing in nursing homes employed by or under contract

with a MCO." 305 ILCS 5/5F-15. As Mr. Ben Schoen, Molina's Chief Operating Officer,

testified, a SNFist is essentially a medical professional "who takes care of nursing home

residents in the skilled nursing   facility." (Schoen Dep.216 (Ex. l).) Molina's contracts with   the

Department define a SNFist as:

       A Physician or APN licensed under the Illinois Nurse Practice Act who is part of
       an organized system of care, meaning a coordinated group working together,
       whose entire professional focus is the general medical care of individuals residing
       in a Nursing Facility and whose activities include Enrollee care oversight,
       communication with families, significant others, PCPs, and Nursing Facility
       administration.

(Contract Between United States Department          of   Health and Human Services Centers for

Medicare and Medicaid Services In Partnership with State of Illinois Department of Healthcare

and Family Services and Molina Healthcare of Illinois, Inc., Dated November 5,2013 ("2013

Contract"), $ 1.142 (Ex.2); see also State       of Illinois Contract between the Department of
Healthcare and Family Services and Molina Healthcare           of Illinois, Inc. ("2015 Contract"),

$ 1.142 (Ex.3).)

               19.      SNFist programs are critical to the provision of quality and cost-effective

medical care for many reasons. First, SNFists provide a higher quality of care for post-acute care

patients because they have a more detailed understanding of the patients' conditions, including a




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personal relationship with the patients, which allows for better informed healthcare management.

Second, SNFists improve the continuity of care because they are on-site, beside the patients,

seeing the patients frequently and helping to determine appropriate next steps for the patients'

cases. Third, SNFists help reduce unnecessary, and expensive, hospitalizations by catching

illnesses and otherwise unforeseen problems before they become emergent. Fourth, SNFists

improve the perception of the healthcare system-especially the Medicaid program-because

SNFists have a personal relationship with the patients and their families.

                 20.    Over the past few years, the healthcare community has increasingly

recognized the value      of a robust SNFist p.ogra-.' By way of               example, the American

Association of Retired Persons ("AAIU'"; has endorsed the value of SNFist programs. AARP

Kansas' Executive Director, Dr. Maren Turner, testified before the Kansas House Health and

Human Services Committee that SNFist programs help reduce readmission rates, and that the

savings    to the Kansas Medicaid        program from reduced readmission rates range from

$40-7 7   million annually.2

                 21.    The Department's appreciation of the value of a SNFist program makes

Defendants' disregard for its contractual obligations all the more egregious.

il.       DR. THOMAS PROSE AND GENERAL MEDICINE P.C.

                 22.    Dr. Prose, a Medical Doctor, also has a MPH and an         MBA-all      from the

University of Michigan. He has more than 30 years' experience in internal medicine, geriatrics

and health care administration. In 1983, Dr. Prose founded a company called General Medicine




'        See, e.g., "SNFists at Work,"
http:/iwww.modernhealthcare.com/article/20120324/MAGAZINE/303249939.    (Ex. 4.)

'          Se" "CARE Act Testimony for Kansas House Health and Human Services Committee," available       ar
http:/istates.aam.or9care-act-testirnony-for-kansas-house-health-and-human-services-committee/. (Ex.5.)




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that has grown consistently since. Prior to creating General Medicine, Dr. Prose was the medical

director for Cigna Insurance Company; he also served as a medical consultant for the boards of

directors for many federal and state agencies, insurance carriers and health care systems.

Dr. Prose has authored a collection           of articles on the healthcare industry, and has presented

before the United States Senate, CHFA, CMS, the National Cancer Institute, and the Association

of Community Cancer Centers. He is a featured                     speaker   of the National Geriatric Society, and

several other national, state and local healthcare organizations.                   A copy of Dr.       Prose's CV is

attached as Exhibit 6.

                  23.      Dr. Prose's company, General Medicine P.C.,                        also known as       the

"Post-Hospitalist Company,"           is a   collaborative practice           of board-certified      physicians and

advanced nurse practitioners who specialize in the care of post-acute care patients in long-term

care facilities. These post-hospitalists, sometimes referred to as SNFists, work exclusively in

these facilities rather than in addition to their daily practices and hospital rounds.

                  24.      General Medicine provides SNFist services to many MCOs, Accountable

Care Organizations ("ACOs"), and state health plans, and has an extremely successful track

record: among other accolades, its SNFists have achieved a nation-wide leading                               hospital

readmission    rate-a key      measure    of success-that is 67Yo lower than the national average, in

addition to quality metrics in the top 70o/o.3 General Medicine is recognized as the leading

physician care model         for   post-acute care patients, including              by the Illinois Health      Care

Association ("IHCA").4


3        See, e.g., "General Medicine, P.C. achieves performance in the top l0 percent for audited HEDIS Rate
results for 2013," Healthcare Finance, Jan. 9, 2014, available at hftp://www.healthcarefinancenews.com/press-
release/general-medicine-pc-achieves-performance-top-   I   0-percent-audited-hedis-rate-results. (Ex. 7.)
o        5"" IHCA Regulatory Beat, Aug. 9, 2016, available at
http:/lwww.ihca.comlrc_files/l49lRegulatary%o20BeatYo20-%o20Augusf/o2|9.Yo202016.pdf. (Ex. 8.)




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UI.     MOLINA AND MOLINA HEALTH

                   25.     Molina is one of several MCOs operating               in Illinois pursuant to an
agreement      with the Department. Molina claims that "Contracted providers (like                 General

Medicine) are an essential part of delivering quality care to our members," and that "Molina

Healthcare      of Illinois   values our provider partnerships and supports the doctor-patient

relationship our members share with you." Molina also claims to oppose efforts to underutilize

services.s

                   26.     Molina was recently awarded another contract with the Department,

extending      its existing    agreement     for   another     four years beyond 2017. (See Award
Announcement (Ex. I 0).)

                  27.      As of December 2015, Molina served approximately 98,000 members, and

recognized premium revenue of approximately $397million for the year ended December3l,

2015.

                   28.     Molina is rapidly expanding.

                           (a)      On January     l,   2016, Molina closed on its acquisition      of   the

                                    Medicaid membership, and certain assets related to the Medicaid

                                    business   of, Accountable Care Chicago, LLC, also known             as

                                    MyCare Chicago. Molina added approximately 58,000 Medicaid

                                    members in this acquisition.

                           (b)      Also on January      l,   2016, Molina closed on its acquisition of the

                                   Medicaid membership, and certain assets related to the Medicaid




        See   http://www.molinahealthcare.com/providers/illmedicaid/Pages/home.aspx.   (Ex. 9.)




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                               business,   of   Loyola Physician Partners, LLC. Molina         added

                               approximately 21,000 Medicaid members in this acquisition.

                        (c)     On November 30, 2015, Molina announced that it entered into an

                               agreement to assume the membership and certain Medicaid assets

                               of Better Health Network, LLC. Molina added            approximately

                               40,000 Medicaid members in the acquisition.

                 29.    Molina is owned and controlled by Molina Health, a Fortune 500 company

operating Medicaid programs      in a variety of states. "Molina Healthcare, a FORTUNE          500,

multi-state health care organization, ilranges for the delivery of health care services and offers

health information management solutions to nearly five million individuals and families who

receive their care through Medicaid, Medicare and other government-funded programs in fifteen

states. "6


                 30.   Molina Health fired its Chief Executive Officer, Mario Molina, and his

brother, Chief Financial Officer John Molina, in May 2017 claiming that its financial results

were disappointing, even though Molina Health's earnings per share have been a healthy      l6o/o-a
particularly healthy return considering that its returns are almost exclusively a result of payments

from cash-strapped Medicaid programs. In any event, Molina Heath is rapidly growing, having

generated $4.029   billion in revenue h2016, and $4.740 billion in20l7.

IV.      THE DISPUTE BETWEEN MOLINA AND GENERAL MEDICINE, AND THE
         RELEVANT WITNESSES

                31.    Molina and General Medicine entered into an agreement in April 2014,

pursuant     to which Molina hired    General Medicine      to satisff   Molina's obligation   to   the



6       Seehttp://www.molinahealthcare.com/members/common/en-
US/abtmolina/compinfo/Pages/compinfo.aspx. (Ex. I I .)




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Department to provide a SNFist program for Medicaid beneficiaries in             Illinois.   (See Contract

between Molina Healthcare of lllinois, Inc. and General Medicine, P.C. (Ex. 12).) The nature            of

the dispute is described in more detail below, but in short, Molina stopped paying General

Medicine in January 2015 (despite General Medicine's adherence to the General Medicine

contract and fine performance), forcing General Medicine to terminate the agreement. Molina

continued to refuse payment to General Medicine for services already rendered, resulting in an

arbitration proceeding before the American Arbitration Association.

               32.     The arbitration is still pending, but discovery is closed. The discovery

process has produced evidence that indisputably demonstrates the allegation that Molina has

knowingly failed to provide a SNFist program to Medicaid beneficiaries, while at the same time,

claiming full payment from the Department, and seeking to renew its contract to provide services

to the Department. That evidence includes sworn deposition testimony-that is not public-

from the following Molina employees:

               Ben Schoen, who has been employed by Molina as the Chief Financial
               Officer since August2014.7 (Schoen Dep. 8 (Ex. 1).)

               o       As the Chief Operating Officer for Molina, Mr. Schoen is
                       responsible for network development, provider services, physician
                       engagement, program management, and vendor oversight.
                       (Schoen Dep. I 1.)

               o       Mr.  Schoen reports directly to            the   President      of   Molina,
                       Catherine Harvey. (Schoen Dep. 8.)

               o       Ms. Harvey, in turn, reports to Molina Health Regional Vice
                       President, Amy Clubbs, who lives in Ohio. (Schoen Dep. 8-9.)

               Ross Randolph (Randy) Carey-Walden, who was employed by Molina
               from June 2014 through December 2015 as the Director of Health Care.



       Mr. Schoen works at Molina's Chicago office at 222WestAdams Street, Suite 450




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              o      Mr.    Carey-Walden was responsible for case management
                     activities, including managing nruse and social worker case
                     managers, monitoring chart audits, and ensuring contractual
                     compliance, including the completion of relevant assessments.
                     (Carey-Walden Dep. 14-15 (Ex. l3).)

              o      Mr. Carey-Walden is currently employed by Great Lakes Caring
                     Home Health in Springfield, Illinois, as the Director of Home
                     Health. (Carey-Walden Dep. 12-14.)

              o      Mr. Carey-Walden ultimately ended up supervising the contract
                     between Molina and General Medicine. (Carey-Walden Dep.
                      l7-18.)

       .      Vrjay Parthasarathy, who is the Director of Finance and Analytics for
              Molina. (Parthasarathy Dep. 8 (Ex. 1a).)

                       DEFENDANTS' FRAUDULENT CONDUCT

I.     MOLINA'S PROMISE AND OBLIGATION TO PROVIDE SNFIST SERVICES

              33.    Molina's contracts with the Department make perfectly clear that Molina

was obligated to provide SNFist services. Molina executives   fully acknowledge that obligation.

       A.     Molina's Contracts With the Department

              34.    Pursuant      to the 2013 Contract,     and the 2015 Contract, Molina
unambiguously promised to provide a SNFist program. Specifically, the 2013 Contract provides:

       2.5    Care Delivery Model

              2.5.6 SNFist Program. The Contractor shall provide          SNFist
              services, either through direct employment or a sub-contractual
              relationship. The SNFist program shall provide intensive clinical
              management of Enrollees in Nursing Facilities. The Contractor
              shall implement one of the following for each Enrollee in a NF:

                     2.5.6.1. When appropriate        or necessary, the ICT will
                                include   an additional facility-based Provider
                                (Physician or nurse practitioner) who    will   deliver
                                care in identified Nursing Facilities.

                     2.5.6.2. For        all other Enrollees, Care Management
                                through the SNFist program shall be performed by
                                either telephonic or field-based Registered Nurses


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                                     or licensed clinical social workers who will work
                                     within each     assigned NF to provide Care
                                     Management and care coordination activities.

(2013 Contract (Ex. 2); see also 2015 Contract (Ex. 3) at $ 5.6.10 (similar).)8

                   35.     The 2015 Contract provides that Molina must provide services-whether

described as providing "covered services," providing "quality care," or providing "a specific type

of health care services" either directly, or through "Affrliated Providers." (2015 Contract,                      $ 2.6

(Ex. 3).) The 2013 Contract requires that covered services be available "twenty-four (24) hours a

day, seven (7) days a week, as authorized by the Contractor" and be provided in the "amount,

duration and scope as set forth in 89lll. Adm. Code, Part 140 and this Contract, and shall be

sufficient to achieve the purposes for which such Covered Services are furnished." (2013

Contract, $ 2.4.1 (Ex. 2); see also 2015 Contract, $ 5.1 (similar) (Ex. 3).)

                   36.     In the event Molina changed "key functions for the delivery of care," or

"Contractor's network of Affiliated Providers," Molina was obligated to notifr the Department

within five (5) days. (2013 Contract, $$ 5.1.1; 1.59 (defining terms) (Ex. 2); 2015 Contract,

$ s.1   (Ex.3).)

                   37.     Molina's obligation to provide a SNFist program is not unique to Molina:

every Illinois MCO contracted with the Department is similarly obligated to provide a SNFist

program. See, e.g., Aetna Better Health of Illinois Family Health Plan/Affordable Care Act

Medicare-Medicaid Alignment Initiative Integrated Care Plan 2015 Annual Report. (Ex. 17.)

8         See qlso State of Illinois Application for Managed Care Community Networks Relating to the Innovations
Project, $ 2.13 (requesting information regarding "Network Adequacy," including a description of "the hospitalist
and SNFist program you propose to operate") (Ex. l5); Measurement, Monitoring, and Evaluation of State
Demonstrations to Integrate Care for Dual Eligible Individual (noting that "Plans are required to operate SNFist
programs to provide intensive clinical management for enrollees in nursing facilities. This service will be provided
by registered nurses or licensed clinical social workers working by telephone or within facilities to provide care
management and care coordination, or when appropriate by adding a physician or nurse practitioner. The intent is to
improve health outcomes in nursing facilities, particularly those with high rates of hospitalization (Illinois three-way
contracto 2013,p.50; Illinois MOU, 2013, pp.6647);' (Ex. 16.)




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       B.     Molina Executives Acknowledge Molina's Obligations to Provide SNFist
              Seruices

              38.     Molina employees unequivocally confirmed Molina's obligation to

provide SNFist services. Mr. Schoen, Molina's Chief Operating Officer, explained that Molina

has always been obligated to provide a SNFist program:


       a.     Okay. All right. Does the state of lllinois, in terms of your contract
              with the state, does the state require that those SNFist services be
              provided as part of the Medicaid Program?
       A.     Yes.

(Schoen Dep. l5-16 (emphasis added) (Ex. 1).)


       a.     Did the state of Illinois require Molina to have a contract executed with   a
              vendor to provide SNFist services?
       A.     A clarifying question. Prior to go live or in general?

       a.     In general.
       A.     They simply state     in the contract that the contractor will       have   a
              SNFist Program.

       a.     And you being the contractor   - Molina being the contractor?
       A.     Molina being the contractor. Whether we chose to implement that
              intemally with our own resources or subcontract that out is not specified in
              the agreement.

(Schoen Dep. 30-31 (emphasis added) (Ex. 1).)

              39.    Molina's Director of Health Care, Mr. Carey-Walden, agreed:

       a.     Is the reason that you ended up supervising the General Medicine
              providers, is that because they were providing services that were mandated
              under Molina's contract with the State of Illinois?
       A.     The State of Illinois mandated that we have what was called a "SNFist
              program," S-N-F being skilled nursing facility. A SNFist program is
              oversight either with physicians, nurse practitioners or physician assistants
              to make sure that the members are being seen at least every other month.
              Molina's contract stated that they were to be seen monthly, so it was a
              little above what we were required to do.

(Carey-Walden Dep. 17-18 (emphasis added) (Ex. l3).)




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        a.     So let me go back to the State of Illinois contract. Is            it   your
              understanding, if you know, did the State of Illinois mandate       in    any
              way that Molina have a SNFist program for its members?
        A.    Yes, it was in the contract with the State.

(Carey-Walden Dep. 20 (emphasis added) (Ex. 13); see also Parthasarathy Dep. 28-31 (Ex. 14)

(Molina is required to report to CMS and the State of Illinois the number of face-to-face exams

("FCNAs") Molina completes.)

II.     MOLINA'S FAILURE TO PROVIDE SNFIST SERVICES

               40.    To satisfu its obligation to provide a SNFist program to           Medicaid

beneficiaries, Molina entered into an agreement with General Medicine. Molina, however,

breached its agreement, and after having caused the dissolution of its relationship with General

Medicine, Molina failed to replace General Medicine with a SNFist program, and failed to report

that failure to the Department or CMS.

        A.     Molina Contracts With General Medicine to Provide SNFist Services

               41.    Recognizing its obligation to provide a SNFist program, Molina entered

into a contract with General Medicine on April          l,   2014,   to provide SNFist    services.

Catherine Harvey, Molina's President, signed the agreement with General Medicine. Molina

delegated all of its SNFist responsibilities to General Medicine pursuant to the General Medicine

contract-i.e., General Medicine was the exclusive provider of SNFist services to Molina.

(Schoen Dep. 15, 29 (Ex. 1); Carey-Walden Dep. 20, 39,   4l (Ex. 13).)
        B.    Molina Fails to Honor Its Contract With General Medicine

              42.     The General Medicine contract began         well:    Molina paid    General

Medicine in full, without issue, for SNFist services General Medicine provided in September,

October, November and December 2014. (Schoen Dep. 44 (Ex. 1).) Molina, however, stopped




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payment to General Medicine      in 2015, even though General Medicine continued to provide

SNFist services from January through April of that year. (Schoen Dep. a7 @x. 1).)

               43.     Molina appears to have been motivated by financial considerations. An

email chain among Molina executives demonstrates that Ms. Harvey, Molina's President, made

the decision to stop paying General Medicine after concluding that        it   was too expensive to

continue using General Medicine. [n response to an email describing payments to General

Medicine, Ms. Harvey wrote: "We need to set up a meeting with them and renegotiate. I have

told finance not to pay any more until we do." (Carey-Walden Dep. Ex. 20 (Ex. 18).)

               44.     Molina, however, claimed that, due          to a   significant increase in

membership    in   December 2014-from 500         to 1700-it    conducted      a review of   General

Medicine's work and determined that General Medicine was behind in completing two tasks:

initial FCNAs, and annual comprehensive exams ("ACEs"). (Schoen Dep. 47-50 (Ex. l).)

General Medicine denied Molina's claims and provided               to Molina a      detailed report

demonstrating that General Medicine did, in fact, complete the FCNAs and ACEs, as required.

Molina did not dispute General Medicine's contention, which was based on data readily available

to Molina. Instead, Molina claimed that General Medicine documented its exams in the patient

charts, rather than through Molina's software. General Medicine explained that Molina's

software was    not functioning properly, making it impossible to              document   the   exams

electronically. Molina staff acknowledged the failure of Molina's software, but failed to repair it,

and nonetheless continued to deny payment to General Medicine. Accordingly, in            April 2015,

General Medicine terminated the contract with Molina. (Schoen Dep. 105 (Ex. l).)

               45.     Contrary to Molina's alleged concerns about General Medicine's delayed

paperwork (a delay caused only by Molina's defective software), Mr. Carey-Walden, Molina's




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Director of Healthcare who supervised the General Medicine relationship, testified that General

Medicine fully performed its obligations:

         a.    So can you tell me -- or whether or not you mentioned it to Rebecca --
               I know you can't recall that, but can you tell me about that request from
               the VP?
         A.    Well, I remember Cathy Schilling asking me how it had been working
               with General Medicine. She was just asking my opinion. She wanted to
               know if I had reviewed the scope of work, and I said, "yes." I remember
               telling her I didn't feel that they had any deficiencies in any area.

(Carey-Walden Dep. 108 (emphasis added) (Ex. l3).)

         a.    Randy, with regard to the time when you took over as supervisor,
               supervising General Medicine, which I think we indicated was in
               mid-December of 2014 until the time that General Medicine terminated
               April lst, is it your opinion that General Medicine performed its
               contract with Molina in the scope of work included therein in a
               satisfactory manner?
         A.    Yes.

(Carey-Walden Dep. 120-21, (emphasis added) (Ex. 13).)

               46.     In February or March 2015, Dr. Prose spoke with            John   Molina, Molina

Health's now-former Chief Financial Officer, about Molina's failure to pay General Medicine,

and Mr. Molina promised that he "would take care         it."   He never did.

               47.     Molina's decision    to stop paying          General Medicine, despite General

Medicine's fine work, was financially driven, as revealed by Ms. Harvey's email, and also a

breach   of Molina's   contracts with the Department. (See 2015 Contract, $ 5.25 ("Timely

Payments to Providers") (Ex. 3).)

         C.    Molina Fails to Replace General Medicine or Re-Establish a SNFist Program

               48.     With full knowledge of its obligation to provide a SNFist program, Molina

simply failed to make any legitimate efforts to provide one after forcing General Medicine out       of
its contract in April 2015. Molina's Chief Operating Offrcer, Mr. Schoen, testified unequivocally

that Molinahad absolutelyno SNFist program after General Medicine:


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      a.     Okay. Did you take any    steps at that point to do anything to replace the
             services that General Medicine was providing under the SNFist Program?
      A.     I contacted my attorney.

      a.     Okay. I don't want to ask about your conversations with your attorney.
             But subsequent to contacting your attomey, did you do anything to replace
             these services?
      A.     Replace?


      a.     The SNFist services that General Medicine was providing.
      A.     Oh. No.

      a.     All right. So that's April the 2nd,2015. At some point in time -- now, you
             still had a contract with the state of Illinois to provide SNFist services,
             correct?
      A.     Correct.

      a.
      A.
             so-
             Well, we had a contract with the state of Illinois. One of the provisions in
             there is to develop and implement a SNFist Program.

      a.     Did you -- at some point in time following April 2nd, did you          do
             something to cover the services that General Medicine had been providing
             to you?
      A.     I believe we had discussions on implementing a Molina SNFist Program
             and not carving it out. We were going to attempt to execute it ourselves;
             to date, which we have not completed.

      a.     What do you mean by "not completed"?
      A.     It's not implemented.

      a.     As of today?
      A.     Um-hum.

      a.     "Yes"?
      A.     Yes.

(Schoen Dep.192-9a @x. 1).)

      a.     Ail right.  So you have not hired a -- you have not delegated these
             [SNFistl services to another subcontractor?
      A.     No.

      a.     Are you doing any of them in-house?
      A.     No.




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(Schoen Dep. 194 (emphasis added) (Ex. 1).)

               49. Mr. Carey-Walden, Molina's Director of Health Care, contemplated
beginning   an in-house SNFist program to satisfy Molina's obligations              (Carey-Walden

Dep. 105-06,   ll3   (Ex. l3)), and did have in-house staff complete some of the unfinished

FCNAs, but Mr. Schoen, Molina's Chief Operating Officer, acknowledged that having some staff

complete a few forms does not constitute a SNFist program:

               Okay. So according to paragraph 2, it     indicates that: "Molina pulled
               healthcare providers off its own staff and required them to perform the
               FCNAs and care plans that were incomplete." Is that correct?
               Correct.

               And was that done after Gen Med terminated their contract?
               Correct.

               So that was done in-house byMolina employees, correct?
               Correct. We did these administrative functions.

               Okay. Here you go.
               But we're still absent the SNFist Program.

(Schoen Dep. 214 (Ex.        l);   see also Parthasarathy Dep. 53 (Ex. 14) (Molina continued to do

FCNAs in-house, but did not contract with anyone after April 2015, when General Medicine

terminated the contract).)

               50.     Indeed, Mr. Schoen acknowledged that Molina staff were not capable       of
providing SNFist services:

       A.      Yeah. The SNFist Program is more in the sense of monitoring a patient as
               they're in these skilled nursing facilities to make sure that they're not
               digressing in the acuity of their condition and that they are receiving
               traditional med/surg services that they otherwise would have to go to the
               hospital for which costs, obviously, more money, which was why we
               engaged in the agreement-arrangement with Gen Med, P.C. Our
               providers--or, pardon me--our staff did not have the abitity or
               licensure to render those services. They were only able to go in and do
               the administrative, "Fill out this form."




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(Schoen Dep. 215 (Ex.   l).)

III.     MOLINA FAILS TO INFORM THE DEPARTMENT OF ITS FAILURE

               51.    Despite (or, perhaps, because of) its intentional failure to provide SNFist

services, Molina did not report to the Department, or CMS, its refusal to provide SNFist services.

Mr. Schoen admitted that Molina had not informed the State of Illinois that it was no longer

providing SNFist services to its members, and further admitted that he "did not know" how the

Department would react to such a failure:

         a.    You don't believe that there have been any FCNAs or care plans done for
               the SNFist --I'm sorry-- for the SNFist members that are in skilled nursing
               facilities?
         A.    No.

         a.    Is that an issue that you would have with the state of Illinois   if you   have
               not been doing that since 2015?
         A.    I don't know. I don't know how they would take that.

(Schoen Dep. 196 (Ex. 1).)

               52.    Both Mr. Schoen and Mr. Carey-Walden explained that neither the State

of Illinois, nor CMS, would know that Molina was no longer providing SNFist services, because

Government reporting did not require SNF-specific reports, and Molina was still completing

FCNAs and ACEs for members who were not in skilled nursing facilities:

        a.     Have you been -- have you received any notification from the state of
               Illinois that you are in any way deficient --
        A.     No.

        a.     --under the contract-- let me just finish the question, then you can say
               'r11srr-f61 not providing those SNFist services?
        A.     No.

        a.     All right. You haven't been sanctioned, then, by the state for any reason,
               for not providing SNFist services?
        A.     No.




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       a.     What about the federal government?
       A.     No.

       a.      Have you been audited by the state of Illinois in the two years since for the
               services that you provide under the contract with the state of lllinois?
       A.      Yes.




       a.     In those audit reports, have you provided the information to the state that
              you have not been doing SNFist FCNAs or care plans or ACEs in the two
              years since General Medicine left?
       A.     So we have been doing them. We just have not been doing them in the
              skilled nursing facilities or able to go into the skilled nursing facilities
              under a traditional SNFist Program.

       a.      Right. But in your -
       A.      They just look at aggregate numbers.

       a.     So you have been - you have been producing the numbers of the ones that
              have been done in the home setting?
       A.     Correct.

       a.     You don't have to distinguish between the home setting and the facilities
               setting?
       A.     No.

(Schoen Dep.197-99 (Ex.       l);   see also Carey-Walden Dep. 40   (Ex. l3).)

              53.         Mr. Carey-Walden similarly explained that the      State   of Illinois might not

discover Molina's failure to provide SNFist services because routine audits did not specifically

target the SNFist program:

       a.     You said that the State never required or never did a survey. Could you
              expand on that a little bit?
       A.     The health plans were audited quarterly by a contract that -- a company
              that was contracted with the State of Illinois to make sure that we were
              meeting our contractual requirements, and there was never -- in those
              audits, there was never a specific audit of the SNFist program itself.

(Carey-Walden Dep.   3l (Ex. l3).)




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               54.    None of this is to say that the Govemments were not concemed with the

SNFist program. To the contrary, Mr. Carey-Walden explained that CMS held monthly

conference calls and regularly asked about the SNFist progftrm:

        a.     Mr. Schoen testified that CMS would audit Molina monthly. Is that      an
               accurate statement?
        A.     They had a monthly call with CMS, a conference call where they would
               ask questions. They would have an agenda specific to -- you know, they
               might ask questions about the SNFist program, or they might ask
               questions about how we accomplish the FCNAs. You know, what best
               practices were and so forth. I don't know of any specific report that they
               had to make monthly to CMS.

(Carey-Walden Dep. 38 (Ex. 13).)

               55.    Not surprisingly, Molina's contract with the Department required it to

report fraud and abuse. (See 2015 Contract, $ 5.31 (Ex. 3).)

ry.     MOLINA'S FAILURE ADVERSELY IMPACTS PATIENT CARE

               56.    The benefits of a SNFist progftrm, as set forth above, are significant-

most notably, cost savings and improved patient care and outcomes. Molina employees, with

first-hand knowledge of the benefits a SNFist program can provide, agreed:

       A.     Yeah. The SNFist Program is more in the sense of monitoring a
              patient as they're in these skilled nursing facilities to make sure that
              they're not digressing in the acuity of their condition and that they are
              receiving traditional med/surg services that they otherwise would
              have to go to the hospital for which costs, obviously, more money,
              which was why we engaged in the agreement-arrangement with
              Gen Med, P.C. Our providers--or, pardon me----our staff did not have the
              ability or licensure to render those services. They were only able to go in
              and do the administrative, "Fill out this form."

(Schoen Dep. 215 (emphasis added) (Ex. 1).)

              57.     The only reason to eliminate a SNFist program is to eliminate the

immediate, short-term costs associated with the program. Mr. Carey-Walden, Molina's Director

of Health Care, acknowledged Molina's profit motive:



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            a.   All right.   So the goal was to provide services at an amount that was less
                 than what the State was giving Molina, a capitation basis for         each
                 member?
            A.   Yes.

(Carey-Walden Dep. 25 (Ex. 13).)

V.          MOLINA HEALTH'S LIABILITY FOR MOLINA'S FAILURE

                 58.    Molina Health, as the parent of Molina, is responsible in all senses for the

conduct of Molina. As Molina witnesses have already testified, Molina Health oversees Molina's

work for the Department. Indeed, Molina Health requires Molina to regularly send information

regarding its work to Molina Health's Long Beach, Califomia offices for review, including the

FCNAs and ACEs that Molina is required to provide to both the Department and to CMS.

(Schoen Dep. 152-53        (Ex. 1).) Accordingly, Molina Health took ownership of Molina's

execution of its contracts with the Department, and with the "profit motive" that Molina Health

imposed on its subsidiaries (Carey-Walden Dep. 25 (Ex. l3)), Molina Health knowingly caused

Molina to cut corners for short-term gain by eliminating the SNFist program in violation of

Molina's contracts with the Department.

      DEFENDANTS' INTENTIONAL FAILURES GIVE RISE TO FCA LIABILITY

                 59.    The Medicaid program provides healthcare services for low-income and

disabled individuals.    It   is jointly funded by the federal Government and the states, and is

administered on a state-by-state basis. 42 U.S.C. $ 1396, et seq.

                 60.    CMS oversees the Medicaid program on behalf                of the federal
Govemment, and the Department oversees the Medicaid program on behalf               of the State of
Illinois.

                 61.    Molina is a MCO that has entered into risk contracts with the Department

to provide managed care to Illinois Medicaid members in return for a per-member, per-month



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capitated payment. See 2013 Contract       (Ex.2) and 2015 Contract (Ex. 3); see also 42 U.S.C.

$ 1396b(m) (defining MCOs); 42 C.F.R. $ 438.1 (rules regarding MCOs and state contracts); 42

C.F.R. $ 438.2 (defining risk contract).

               62.     As a MCO, Molina is required to provide the Department with reports

known as Encounter Data Reports that record all Medicaid-covered services reported on              an

inpatient or outpatient claim to Molina. See 2013 Contract (Ex. 2) and 2015 Contract (Ex. 3);

see also 42 C.F.R. $$ 438.604 and 438.608.

               63.     The Encounter Data Reports must include an attestation from Molina that

the data or documents are recorded and complete, accurate, and truthful, and in accordance with

all federal and state laws, regulations, policies, and contracts. 42 C.F.R. $$ 438.604 and
438.608.

                64. In order to receive federal Medicaid          funds, each state must submit      a

quarterly report to CMS for estimated costs, including MCO services (Form CMS-37), and a

quarterly expenditure report (Form CMS-64). Both forms-CMs-37 and CMS-64-include a

certification attesting that the reported data include only allowable expenditures in accordance

with applicable federal, state, and local statutes, regulations, policies, and the state plan approved

by CMS.

               65.     Molina failed to provide SNFist services in violation of its 2013 Contract

and 2015 Contract, rendering its Encounter Data Reports-upon which the Department relies in

its CMS-37 and CMS-64 filings-false. Molina's Encounter Data Reports could only be

properly paid if Molina were in compliance with its contractual obligations.

               66.     Molina also failed to inform the Department that it had terminated General

Medicine and was not providing SNFist services, in violation of its obligation to notify the




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Department within 5 days in the event Molina changed "key functions for the delivery of care,"

or changed its "network of Affiliated Providers." (2013 Contract, S$ 5.1.1; 1.59 (defining terms)

(Ex. 2);2015 Contract, $ 5.1 (Ex. 3).)

                67.    Moreover, the quarterly "fraud reports" Molina was required to provide to

the Department were false because Molina failed to acknowledge its failure to provide a SNFist

program. 2015 Contract, 5.31.1.4 ("Contractor shall submit a quarterly report certifying that the

report includes all instances of suspected Fraud, Abuse and financial misconduct, or shall certify

that there was no suspected Fraud, Abuse or misconduct during that quarter.") (Ex. 3); see also

id. at9.1.29 (8x.3).

                68.    Molina's failure to provide SNFist services goes to the essence of its

bargain with the Department. Had CMS or the Department known the truth, it would have had a

material affect on their decision to pay Molina and the continuance or renewal of its contracts.

The Department has the authority to terminate Molina's contract      if the Department determines
that Molina failed to "[c]arry out the substantive terms of its contract." 42 C.F.R. $ 438.708.

                69.    Molina's silence, despite its obligation to report its deficiencies and its

knowledge that it had no plan to address its deficiencies, was designed to keep the funding spigot

open.

                70.    The federal Government and state Governments, including Illinois, have

long used the FCAs to hold MCOs responsible for failing to provide the services they promised

to provide, and courts have long held that such conduct violates the FCA. See, generally,

UnitedStates ex rel. Tyson v. Amerigroup lllinois, Lnc.,488 F. Supp. 2d.719 (N.D. I11.2007)

(failure to comply with MCO contract obligations violates FCAs); see also, e.g., United States

ex   rel. Fisher v. Iasis, 2016 WL 6610675 (D. Ariz. Nov. 9, 2016) (MCO's failure to provide




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contracted-for services   in violation of FCAs); United States ex rel. Upton v. Family Health

Network, Inc.,2013 WL791441 (N.D. Ill. Mar. 4,2013).

                                 COUNT I
         VT0LATIONS OF THE FALSE CLAIMS ACT, 31 U.S.C.                    S 3729,    ET SEQ.

                ll.    Plaintiff-Relator Dr. Thomas Prose realleges and incorporates by reference

the allegations made in each of the preceding Paragraphs of this Complaint as though fully set

forth herein.

                72.    As set forth above, the FCA provides, in relevant part, that any person

who:

                (A)    knowingly presents, or causes to be presented, a false or fraudulent claim

                       for payment or approval;

                (B)    knowingly makes, uses, or causes to be made or used, a false record or

                       statement material to a false or fraudulent claim; . .   .



                (G)    knowingly makes, uses, or causes to be made or used, a false record or

                       statement material to an obligation to pay or transmit money or property to

                       the Govemment, or knowingly conceals or knowingly and improperly

                       avoids or decreases an obligation to pay or transmit money or property to

                       the Government,

                is liable to the United States Government for a civil penalty of not less than

$5,000 and not more than $10,000, as adjusted by the Federal               Civil    Penalties Inflation

Adjustment Act of 1990 . . . plus 3 times the amount of damages which the Government sustains

because of the act of that person. 31 U.S.C. g 3729(a)(1).

                73.   The term "knowingly" means that a person "(i) has actual knowledge            of
the information; (ii) acts in deliberate ignorance of the truth or falsity of the information; or



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(iii) acts in reckless disregard of the truth or falsity of the information; and (B) require[s]    no

proof of specific intent to defraud."   3l U.S.C. $ 3729(bX1).

                  74.    Through the acts described above, Defendants and their agents and

employees knowingly presented, or caused to be presented, to officers, employees, or agents        of

the United States Government false or fraudulent claims for payment or approval in violation       of

3l u.s.C.   $ 372e(a)(1)(A).

                  75.    Through the acts described above, Defendants and their agents and

employees knowingly made, used, or caused to be made or used, false records or statements

material to false or fraudulent claims, and to get false or fraudulent claims paid or approved by

the United States Government in violation of    3l U.S.C. $ 3729(aXlXB).

                  76.    Through the acts described above, Defendants and their agents and

employees knowingly made, used, or caused to be made or used, a false record or statement

material to an obligation to pay or transmit money or property to the United States Government,

or knowingly concealed or knowingly and improperly avoided or decreased an obligation to pay

or transmit money or property to the United States Government in violation of               31 U.S.C.

$ 372e(aXlXG).

                  77.    The United States Government, unaware of the falsity of the records,

statements and claims made, used, presented          or   caused   to be made,   used or presented by

Defendants, paid and continues to pay claims that would not have been paid but for the acts

and./or conduct   of Defendants as alleged herein.

                  78.   The United States has been damaged by Defendants' acts, and continues to

be damaged, in a substantial amount to be determined at trial.




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                                              COUNT      II
   VIOLATIONS OF THE ILLINOIS FALSE CLAIMS ACT,                         T4O   ILCS I75II, ET SEQ,

                  79.    Plaintiff-Relator Dr. Thomas Prose realleges and incorporates by reference

the allegations made in each of the preceding Paragraphs of this Complaint as though fully set

forth herein.

                  80.    As set forth above, the IFCA provides, in relevant part, that any person

who:

                  (A)    knowingly presents, or causes to be presented, a false or fraudulent claim

                         for payment or approval;

                  (B)    knowingly makes, uses, or causes to be made or used, a false record or

                         statement material to a false or fraudulent claim; . .   .



                  (G)    knowingly makes, uses, or causes to be made or used, a false record or

                         statement material to an obligation to pay or transmit money or property to

                         the Govemment, or knowingly conceals or knowingly and improperly

                         avoids or decreases an obligation to pay or transmit money or property to

                         the Govemment,

                  is liable to the State for a civil penalty of not less than $5,000 and not more than

$ 1 1,000,   plus 3 times the amount of damages which the State sustains because of the act of that

person. 740 ILCS 17513(a)(l).

                  81.    The term "knowingly" means that a person "(i) has actual knowledge         of
the information; (ii) acts in deliberate ignorance of the truth or falsity of the information; or

(iii) acts in reckless disregard of the truth or falsity of the information; and (B) require[s] no

proof of specific intent to defraud.* 740ILCS 175l3(bxl).




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                 82.   Through the acts described above, Defendants and their agents and

employees knowingly presented, or caused to be presented, to officers, employees, or agents      of

the State of Illinois false or fraudulent claims for payment or approval in violation of 740 ILCS

l7sl3(a)(lXA).

                 83.   Through the acts described above, Defendants and their agents and

employees knowingly made, used, or caused to be made or used, false records or statements

material to false or fraudulent claims, and to get false or fraudulent claims paid or approved by

the State of Illinois in violation of 740ILCS 175l3(a)(1)(B).

                 84.   Through the acts described above, Defendants and their agents and

employees knowingly made, used, or caused to be made or used, a false record or statement

material to an obligation to pay or transmit money or property to the State         of Illinois, or
knowingly concealed or knowingly and improperly avoided or decreased an obligation to pay or

transmit money or property to the State of Illinois in violation of 740ILCS 175l3(aXl)(G).

                 85.   The State of Illinois, unaware of the falsity of the records, statements and

claims made, used, presented or caused to be made, used or presented by Defendants, paid and

continues to pay claims that would not have been paid but for the acts and/or conduct of

Defendants as alleged herein.

                 86.   The State of Illinois has been damaged by Defendants' acts, and continues

to be damaged, in a substantial amount to be determined at trial.

                                    PRAYER FOR RELIEF

                 WHEREFORE, Plaintiff-Relator Dr. Thomas Prose requests that judgment be

entered against Defendants Molina Healthcare       of Illinois, Inc. and Molina Healthcare,   Inc.,

ordering that:




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              (a)    Defendants cease and desist from violating the federal False Claims Act,

                     3l U.S.C.     $$ 3729, et seq. and the   Illinois False Claims Act, 740 ILCS

                      l75ll,   et seq.;

              (b)    Defendants pay an amount equal to three (3) times the amount of damages

                     the United States and the State of Illinois have sustained because of

                     Defendants' actions, plus     a civil penalty against Defendants for     each

                     violation of 31 U.S.C.53729 andT40ILCS          17513;

              (c)    Plaintiff-Relator be awarded the maximum amount allowed pursuant to

                     31 U.S.C. $ 3730(d) andT40ILCS 17sl4(d)(l);

              (d)    Plaintiff-Relator be awarded all costs of this action, including attorneys'

                     fees, expenses, and costs pursuant to 31U.S.C. $ 3730(d) and 740ILCS

                      17sla(d)(1); and

              (e)    The United States, the State of Illinois, and Plaintiff-Relator be granted all

                     such other relief as the Court deems just and proper.

                                  DEMAND FOR JURY TRIAL

              Pursuant   to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff-Relator

Dr. Thomas Prose hereby demands a trial by jury.




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Dated: September 14, 2017            Respectfully submitted,

                                     DR. THOMAS PROSE




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